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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION
BRANDON MORRIS CIVIL ACTION NO. 3:19-cv-00266
VERSUS JUDGE TERRY A. DOUGHTY
GRAPHIC PACKAGING MAG. JUDGE KAREN L. HAYES

INTERNATIONAL, LLC
AFFIDAVIT OF KENNETH ROBERT MEISSNER
IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
BY GRAPHIC PACKAGING INTERNATIONAL, LLC
STATE OF LOUISIANA
PARISH OF OUACHITA

BEFORE ME, the undersigned Notary Public in and for the parish and state aforesaid,
personally came and appeared KENNETH ROBERT MEISSNER, who after being duly sworn, did
depose and state as follows:

1. My name is Kenneth Robert Meissner and my position is Manufacturing Manager for
Graphic Packaging International, LLC (““GPI”) at its paper mill facility located near West Monroe,
Ouachita Parish, Louisiana.

De As the Manufacturing Manager at the West Monroe paper mill, my duties include the
entirety of the pulping process from the chip pile to the tanks at the paper machines, which also
includes the production of steam, power and utilities, as well as the kraft recovery process.

3. That the kraft pulping process utilized by GPI at the West Monroe paper mill includes
the kraft recovery process which takes the black liquor produced in the pulping process and through
the recovery boilers and other related equipment, recovers the pulping chemicals from the black
liquor and also produces steam and power from the black liquor constituents.

4, That without the black liquor recovery process, a part of which are the black liquor

reclaim tanks which are a part of the continuous process by which black liquor is converted to the
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pulping chemicals, steam and power for the plant, GPI would not be able to produce its paper
products in an economical and environmentally efficient manner.

5. That the kraft pulping process has been in use since the late 1800's and that the kraft
recovery process has been in use since the early 1900's when the kraft recovery boiler was invented
and placed in use for the process.

6. That the black liquor reclaim tanks, one of which was allegedly involved in the
accident to Brandon Morris, are an integral part of and essential to GPI’s ability to produce its
paperboard products from both a continuous process perspective, as well as from an economic and
environmental perspective.

7. That the continuous kraft pulping process at GPI’s West Monroe paper mill produces
approximately 2,100 tons (4,200,000 pounds) per day of black liquor and that without the black
liquor reclaim tanks to store and allow the continuous processing of the black liquor through the
evaporators and recovery boiler, GPI would not be able to produce its paper board products as
needed for its customers.

8. That attached hereto as Exhibit “A” is a TAPPI (Technical Association of the Pulp
and Paper Industry) paper entitled “The Kraft Chemical Recovery Process” by Honghi Tran and Esa
K. Vakkilainnen, which provides greater detail of the kraft recovery process and its essential nature

to the pulp paper industry of which GPI is a part.

 

9. Further Affiant sayeth not.
"KENNETH ROBERT MEISSNER
SWORN TO AND SUBSCRIBED before me i¢, on this 9" day of September,

  

 

 

FP
—— CNROPARY PUBLIC
C. A. Maftin, II Bar No. 08970
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THE KRAFT CHEMCIAL RECOVERY
PROCESS

Honghi Tran

Pulp & Paper Centre
University of Toronto
Toronto, Ontario, CANADA

Esa K. Vakkilainnen

Poyry Forest Industry Oy
Vantaa, FINLAND

ABSTRACT

 

The kraft chemical recovery process is a mature, effective
technology that provides for recycling of the pulping
chemicals, efficient generation of steam and electrical
power from the fuel value of the black liquor, and
effective disposal of dissolved wood substances. The
process now faces significant challenges with respect to
air emissions, effluent discharge, and the need for
improved energy recovery and utilization. Means for
dealing with these issues are available, but they can costly.
New technology may result in significant energy benefits.

 

INTRODUCTION

The kraft process, which uses sodium hydroxide (NaOH)
and sodium sulphide (Na2S) to pulp wood, is the dominant
pulping process in the pulp and paper industry. About 130
million tons/year of kraft pulp are produced globally,
accounting for two-thirds of the world’s virgin pulp
production and for over 90% of chemical pulp. The high
strength of kraft pulp, the ability of the process to handle
almost all species of softwood and hardwood, and the
favourable economics due to high chemical recovery
efficiency (about 97%) give the kraft process an advantage
over other pulping processes.

In the kraft process, about half of the wood is dissolved,
and together with the spent pulping chemicals, forms a
liquid stream called weak black liquor (Figure 1). The
weak black liquor is separated from the pulp by washing,
and is sent to the kraft recovery system, where the
inorganic pulping chemicals are recovered for reuse, while
the dissolved organics are used as a fuel to make steam
and power.

For every ton of pulp produced, the kraft pulping process
produces about 10 tons of weak black liquor or about 1.5
tons of black liquor dry solids that need to be processed
through the chemical recovery process. This paper
discusses the basic steps in the kraft recovery process,
problems encountered and challenges in recovery

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operation, and advanced technologies that have been
developed to overcome the problems.

Liquor
(NaOH + ~ ‘@

Black Liquor

   

Figure 1. Kraft Pulping Process

THE RECOVERY PROCESS

Figure 2 shows a simple flowsheet of the kraft chemical
recovery process. The process has three main functions: i)
minimizing the environmental impact of waste material
(black liquor) from the pulping process; ii) recycling
pulping chemicals, NaOH and Na,S; and iii) co-generating
steam and power.

Lime :
Lime
Mud

  
  
   

White
Liquor

 
    

Weak
Black Liquor

Heavy
Black Liquor

 

Causticizing
Plant

 

 

 

Green Water

aa

Smeit

 

Recovery
Boiler

 

 

 

Figure 2. Kraft Recovery Process

The magnitude of the recovery process is often not fully
appreciated. Globally over 1.3 billion tons per year of
weak black liquor are processed; about 200 million tons
per year of black liquor dry solids are burned in recovery
boilers to recover 50 million tons of cooking chemicals as
Na,O, and to produce 700 million tons of high pressure
steam. This makes black liquor the fifth most important
fuel in the world, next to coal, oil, natural gas, and
gasoline [1]. Since black liquor is derived from wood, it is
the most important renewable bio-fuel, particularly in
Sweden and Finland.

The chemical, physical and combustion properties of

black liquor vary from mill to mill depending on many
factors, including mill location (inland or coastal), digester

EXHIBIT

A

tabbies:
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conditions, pulp yield, wood species, white liquor
properties, chemicals-to-wood ratio and brownstock
washing efficiency. In general, hardwood pulping requires
less chemicals, has a higher pulp yield, and consequently,
generates less black liquor solids than softwood pulping.
Harwood black liquor generally contains less organics, tall
oil and soap, and has a lower heating value (about 5%
lower) than softwood black liquor. In Brazil, Chile and
tropical countries, eucalyptus is the dominant wood
species used in kraft pulping. Since the properties of
eucalyptus black liquor are similar to those of other types
of hardwood black liquor, the chemical recovery process
in eucalyptus kraft mills is essentially the same as others.

Recovery of Pulping Chemicals, NaOH and Na»S

As shown in Figure 2, weak black liquor from brown
stock washers is concentrated in multi-effect evaporators
and concentrators to a point where it can be effectively
burned in a recovery boiler, usually at 65% solids or
higher. Concentrated black liquor is sprayed into the lower
part of the recovery boiler where it is burned in an oxygen
deficient environment so that Na)S is formed. The extent
of sulphide formation is measured by the reduction
efficiency, typically over 90%. The inorganic sodium and
sulphur are recovered as a molten smelt which consists
mostly of Na,S and sodium carbonate (Na:CO;). The
molten smelt enters a dissolving tank where it is dissolved
in water to form green liquor. The green liquor is then sent
to the causticizing plant, where it is reacted with lime,
CaO, to convert the Na;CO; to NaOH. Conversion is
measured by causticizing efficiency, typically 80 to 83%.
The Na,S passes through the causticizing step unchanged.

The causticized green liquor is known as “white liquor”
which contains mostly NaOH and Na)S. It is returned to
the digester for reuse in pulping. The precipitated CaCO,
(lime mud) from the causticizing reaction is washed, and
sent to a lime kiln where it is heated to a high temperature
to regenerate CaO for reuse.

Recovery of Heat from Combustion of Organics

The organic compounds in black liquor serve as a fuel for
the production of steam which is used to generate
electricity. The heat released as a result of black liquor
combustion is recovered as high pressure/temperature
superheated steam in the recovery boiler. The efficiency in
converting the fuel value in kraft black liquor (13,000 to
15,000 kJ/kg) to steam is typically lower than for fossil
fuel combustion, because of the heat used to evaporate the
water entering with the black liquor, the heat of reaction
consumed in producing NaS, and the heat carried out
with the molten smelt.

1.1-2

The amount of steam produced is typically about 3.5 kg
per kg black liquor solids, but can range from 2.5 to about
3.8 kg steam per kg black liquor solids, depending on the
thermal efficiency of the recovery boiler. The high
pressure steam is passed through a steam turbine to
generate electricity. Depending on the quality of the
steam, and the type/ of the turbine, a 1000 t/d kraft pulp
mill can generate 25 to 35 MW of electricity by burning
1500 t/d black liquor dry solids in its recovery boiler. The
lowered pressure steam exiting from the turbine is used in
various processes in the mill.

OPERATIONAL PROBLEMS

Although the kraft recovery process is straightforward in
principle, it is not easy to operate at high efficiency. Many
problems, both mechanical and process, can occur.

Multi-effect evaporators often experience problems with
liquor side fouling, tube corrosion and foaming,
particularly as the liquor becomes concentrated. These
problems result in frequent evaporator boilouts, high
steam consumption, and low solids in the product liquor.
Recovery boilers also have many problems including
fouling of heat transfer tubes and plugging of flue gas
passages by fireside deposits, tube corrosion and cracking,
floor tube damage, poor water circulation, smelt-water
explosions, unsteady smelt run-off, high dregs in smelt,
poor smelt reduction, low steam production, blackouts and
air emissions.

Many problems can also occur in lime kilns including: low
thermal efficiency, high fuel consumption, ringing,
balling, dusting, refractory and chain damage, poor lime
quality and air emissions. In the causticizing plant,
problems often encountered are overliming, poor mud
settling and washing efficiency, high sodium and low
solids contents in the lime mud, low liquor causticizing
efficiency, high dregs carryover and liquor-line corrosion
in storage tanks.

Depending on the performance of the recovery boiler and
the causticizing plant, and the amount and the way in
which makeup chemicals are added into the system, the
liquor cycle may have problems with non process element
accumulation, particularly chloride (Cl) and potassium
(K), with high Na,CO; and Na)SO, deadload, and with Na
and S imbalance.

These operational problems result in poor pulping liquor
quality, poor pulp quality, increased mill energy
consumption, and decreased mill production capacity.
They also make it difficult for mills to comply with
increasingly stringent environmental __ regulations,
particularly during the process disturbance periods.
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EVIRONMENTAL CHALLENGES
Air Emissions

One of the key environmental challenges is control of air
emissions from the recovery cycle. The main concerns
have historically been particulate, TRS (total reduced
sulphur gases, mainly H2S), SO2, and recently NO,. Now,
there is increasing focus on other gases, such as HCl, NH3,
CO, methanol, and other volatile organic compounds.

Particulate emissions are mainly from the recovery boiler,
the smelt dissolving tank and the lime kiln. Modern
recovery boilers are equipped with sectionalized, dry-
bottom electrostatic precipitators that operate at high
efficiencies (>99.5%). Smelt dissolving tank vent stacks
are equipped with high efficiency wet scrubbers to control
particulate emissions. Lime kilns are equipped with either
wet scrubbers or precipitators to control lime dust and
sodium fume emissions. Although wet scrubbers have the
advantage of also providing some capability to control
SO, emissions, virtually all new lime kilns are equipped
with electrostatic precipitators to meet tighter particulate
control requirements.

TRS is primarily responsible for kraft odour and has long
been subject to control measures. TRS emissions from
modern recovery boilers are kept well below 5 ppm. Other
main sources of TRS emissions are non-condensible gases
(NCG) streams from the digesters and evaporators. They
are normally collected and incinerated either in bark
boilers, dedicated incinerators, lime kilns, or recovery
boilers. There has been increased trend toward burning
NCG in recovery boilers [2], which are adequate from
both process and capacity standpoints and have the
advantage of a built-in means for capturing the sulphur.

SO, emissions can also come from many sources.
Recovery boiler SO, emissions depend strongly on boiler
operating conditions. The SO, concentration in the flue
gas can approach zero if the temperature in the lower
furnace is sufficiently high. SO, emissions from the lime
kiln are dependent on the sulphur content of the fuel being
burned and on whether or not the calciner is being used for
NCG incineration. If wet scrubbers are used for capturing
lime dust, some SQ) recovery will also occur there. The
emission of SO, from bark and power boilers depends on
the sulphur content of the fuel used and on the efficiency
of any wet scrubbers that might be employed. SO,
emissions from NCG incinerators depend on scrubber
efficiency.

NO, emissions from recovery boilers are relatively low,
typically 50 to 100 ppm. Most of this NO, comes from the
small amount of nitrogen compounds (0.1 wt%) in the
black liquor solids burned in the boiler [3,4]. At present, it

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is not clear if NO, emissions can be controlled through
changes in boiler operating practices. NO, emissions from
lime kilns have recently attracted attention, particularly for
kilns that burn NCG.

Combustion control in modern recovery boilers is quite
good, and CO concentrations during normal operation are
typically only a few hundred ppm. However, CO
concentrations can be considerably higher during upset
operation.

HCI can be emitted from the recovery boiler, as a result of
sulphation of alkali chlorides (NaCl and KCl), if SO,
concentrations are high and if there is sufficient chloride
in the black liquor. Reductions in HCl emissions can be
achieved by operating the recovery boiler with high bed
temperatures to minimize SO, concentrations in the flue
gas and by purging chloride from the system.

Small amounts of NH; and ammonium salts have been
found in the dissolving tank vent [5]. This comes from
organic nitrogen in the wood that is dissolved during
pulping and ends up in the smelt stream leaving the
recovery boiler. The nature of this problem and how to
minimize it is only now beginning to be understood [4].

Methanol and other volatile organic compounds are
formed during pulping and can be present in contaminated
condensates. They can be stripped out using condensate
strippers, and can be dealt with as a part of NCG and
stripper-off-gas (SOG) incineration, or they can be
incinerated as liquids. In older recovery boilers, these
substances also form during black liquor oxidation and
can be stripped from the black liquor in direct contact
evaporators. The need to control these emissions may
eventually result in the total elimination of the use of
direct contact evaporators.

Mill Closure

The second major environmental challenge for the kraft
process is how to reuse various aqueous effluents within
the pulp mill. This challenge, which is often referred to as
mill closure, is aimed at decreasing the overall water
usage and the needs for chemical makeup.

Steam condensate is used where possible instead of fresh
water. This requires greater efforts to clean up condensates
to make them suitable for reuse. Any organic substances
that are present in contaminated condensates will be
moved to parts of the system where they had not
previously been present. This can have adverse effects on
the process.

The decrease in chemical makeup requirement does not
necessarily result in an economic benefit. It may force a
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change from cheap chemicals (such as NaSOq) toward
more expensive ones (NaOH). For bleached kraft mills,
spent chemicals (mostly Na,SO4) from chlorine dioxide
(C102) generators have been disposed of by introducing
them into the recovery system as makeup chemicals. An
ongoing trend toward a decreased need for sulphur
makeup has forced changes in ClO, generation technology
to produce an effluent having less sulphur. The need for
less sulphur can also affect on-site acidulation of tall oil
soap, since sulphuric acid is the acid normally used for
this purpose. However, this is not a problem for
eucalyptus or other types of hardwood mills where tall oil
soap production is minimal.

Non-process elements (NPEs) are chemical elements that
are present in the process cycle, other than the sodium and
sulfur that make up the pulping chemicals and the carbon,
hydrogen and oxygen that make up the organic material.
NPEs can enter the cycle with the wood, with chemical
makeup, with process water, from the bleach plant, and
with any waste streams that are disposed of within the
process. Non-process elements can be classified into three
general types: i) those that are highly soluble in alkali and
can build up without limit (K and Cl); ii) those that are
partially soluble in alkali and can build up to significant
levels before being naturally purged by precipitation (Al,
Si, P), and iii) those that are highly insoluble in alkali and
are removed with green liquor dregs and therefore do not
build up (Ca, Mg, Ba, Fe).

Potassium (K) and chlorine (Cl) can have a large effect on
the recovery operation, since they lower the melting points
of the ash formed in the recovery boiler. Potassium is an
active alkali, like sodium, and KOH and K;S are effective
pulping chemicals. In tightly closed mills, potassium may
accumulate to more than 10% of the total alkali, especially
when eucalyptus/hardwood is pulped. A high potassium
level in the liquor aggravates superheater corrosion and
increases fouling in the recovery boiler, particularly when
it is also accompanied by a high chlorine (or chloride)
level [6]. Chloride can have a major impact on recovery
boiler fouling and plugging, and has been implicated in
some corrosion problems around the system. As the
degree of mill closure increases, deliberate purges for Cl
and K from the recovery cycle may be required.

Al and Si can form glassy aluminosilicate scales in the
evaporators, which are difficult to remove. The critical
element for controlling this problem is normally Al, and
Al inputs to the cycle should be minimized. If necessary,
Al can be removed from the cycle with the green liquor
dregs, by co-precipitating it with Mg. High levels of silica
can result in evaporator scaling and lime mud filtering
problems. Phosphorous will tend to build up in the lime
cycle and result in poor quality lime and operational
problems in the lime kiln.

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The alkaline insoluble NPEs such as Ca and Mg can cause
scaling problems in digesters and evaporators, upstream of
the green liquor dregs separator, but they do not
accumulate in the cycle.

In recent years, there have been efforts to use the recovery
system for disposal of biological sludge from the waste
treatment system [7]. There are some concern about this
practice since it increases the load on process equipment,
and is also a potential source of non-process elements.
Sludges that can contain significant levels of aluminium
are especially troublesome.

MODERN APPROACH

The modern kraft recovery process is the end result of
continued small improvements in the basic technology.
One important development in recovery boiler operation is
the “high-solids firing” which refers to burning black
liquor at solids contents greater than 75%. The practice
significantly increases steam generation and improves
combustion stability, resulting in lower TRS and SO,
emissions, and less boiler fouling and plugging. It also
provides for more capacity in existing units.

The amount of power a recovery boiler can generate from
black liquor combustion depends on the pressure and
temperature of the steam that the boiler produces.
Traditionally, recovery boilers have operated at moderate
steam pressures (90 bars) and temperatures (<480°C) due
to concerns over superheater corrosion and high costs of
material construction. The trend is, however, toward
higher pressures and temperatures. The lead in these
developments has been taken in Japan and Finland. Today
there are a number of recovery boilers operating at 110
bars and 510°C. Steam generation rates can be as high as
3.8 kg steam per kg black liquor solids (BLds) and power
generation, as high as 0.6 kWh/kg BLds.

Figure 3 shows the firing capacity of over 1000 recovery
boilers that have been built in the world to date [8]. While
fewer units were built in the last decade compared to
previous decades, the units are larger on average, with the
maximum black liquor firing capacity double those built
in the early 80’s. The boiler steam temperature and
pressure are also higher (Figure 4) in order to allow for
maximum power generation.
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6000 order to produce high-pressure/temperature steam. It will
5000 also be equipped with a back pressure turbine combined
_ / with a condensing turbine to maximize power generation.
Ss Maximum
% 4000
Uv
= 3000
°
& 2000
@
Oo
1000
0
1930 1940 1950 1960 1970 1980 1990 2000 2010
Year
Figure 3. Black liquor firing capacity of recovery
boilers built in the world versus their years of
start-up.
600 180
— Temperature ~
© 500 L150
2 Pressure <=
5 400 +120 @
© z =
g 2
a 300 1 P30 g
E a
= 200 r 60
E &
2 100 L300
a ” Figure 5. The World's Largest Recovery Boiler at
0 . . . . - . - 0 Jinhai Pulp &Paper, Hainan, China
1930 1940 1950 1960 1970 1980 1990 2000 2010 (Courtesy of Metso Power)
Year

Figure 4. Maximum steam temperature and pressure of
recovery boilers in the world versus their
years of start-up.

The largest recovery boiler in the world is presently the
Kvaerner unit started up in November 2004 at the Jinhai
Pulp & Paper mill in Hainan, China (Figure 5). The unit is
sized at 16.4m x 16.4m x 65m (H), and has a nominal
firing capacity of 5000 td BLds (6000 td BLds
maximum) and producing 734,000 kg/hr steam rated at 84
bar and 480°C [9].

A _ state-of-the-art mill may have _ high-solids
evaporators/concentrators to bring the liquor to 80-85%
solids for firing in the recovery boiler. Figure 6 shows a
schematic of the high dry solids evaporator by Andritz. It
has much more heat surfaces than conventional
evaporators. Due to the high viscosity of the black liquor
at high solids contents, a LHT (Liquor Heat Treatment)
system is used to lower the liquor viscosity and make it
easy to process.

 

 

The recovery boiler design will be that of a single drum,
high solids firing unit with multiple levels of air supplied
by separate fans, as shown in Figure 7. It will have a
greater superheater surface area and be equipped with
feedwater preheaters and/or combustion air preheaters in

Figure 6. High dry solids evaporators (Courtesy of
Andritz)

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Lime
Green Liquor Inlet

 

 

Slaking .
Compartment To Causticizers

 

 

 

 

 

Figure 8. Slaker with Cylcone (Courtesy of Metso Power)

Filtrate
Separation

  
  

  

ho

 

Figure 7. State of the art recovery boiler (Courtesy of

Andritz) : eg hs
Mixing Tank

Sootblowers, which are used to control deposit

accumulation on tube surfaces in recovery boilers, will be =

equipped with fully-expanded nozzles, variable lance Figure 9. Pressurized Disk Filters for White Liquor

speeds and intelligent blowing systems to maximize Preparation (Courtesy of Metrso Power)

deposit removal efficiency while minimizing sootblowing

steam usage. New recovery boilers will use low pressure

steam after the steam turbine (10 to 15 bars) for Precipitator

sootblowing [10], instead of the conventional high Stack

pressure steam (20 to 24 bars).

The causticizing plant will incorporate slakers with Dust : ID Fan
cyclones and scrubbers to minimize dusting (Figure 8),
pressurized disc filters instead of gravity settlers for
liquid/solids separation (Figure 9). The calcining system
will incorporate effective lime mud dewatering, a flash
mud dryer, and product coolers (Figure 10) to improve
kiln thermal efficiency.

 

Recirculation

Lime

 

 

 

 

 

 

 

 

 

 

 

Mud “TT Th | Burner
mT
Lime Kiln Lime

Figure 10. Lime Kiln with Lime Mud Dryer (Courtesy of
FL. Smidth)

1.1-6
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Tightly controlled kraft mills will use some method for
deliberate Cl and K removal. This might take the form of
simply disposing of a substantial portion of the
precipitator ash or the use of elaborate ash treatment
systems for selectively removing Cl and K [11]. Complex
systems for NCG collection and incineration will be
universally used. These will handle not only the
concentrated NCG streams, but also miscellaneous dilute
NCG streams that contribute to mill odour, and will
include destruction of malodorous gases collected from
contaminated condensates. There will be increased
pressures to use the recovery boiler to process at least a
portion of the NCG load.

For bleached kraft mills, there will be increased
incorporation of some of the process streams from the
bleach plant into the recovery cycle. O -delignification
liquor will be disposed of in the recovery cycle. There will
be increased incentives for bringing alkaline stage
effluents back into the pulping cycle through
countercurrent washing.

FUTURE TRENDS

Gasification

In recent years, black liquor gasification has received
considerable attention as a potential replacement for
recovery boilers. Black liquor gasifiers with this capability
are still in the development stage and full-scale
implementation is still years away. The driving force for
these developments has been the potential for much
greater electricity production if the gas produced can be
burned in a gas turbine for combined-cycle power
generation. However, many materials and gas clean-up
issues remain to be resolved. Attention is now shifting to
using black liquor gasification to produce synthesis gas as
a raw material for making higher value chemicals for sale.
This is sometimes referred to as the biorefinery concept.

Borate Autocausticizing

The process involves adding sodium borate into the liquor
system so that it forms tri-sodium borate (Na;BO3) in the
recovery boiler smelt [12]. Na;BO; dissociates into
sodium hydroxide (NaOH) and NaBO,j in the dissolving
tank. Thus, it is possible to causticize a portion of Na,CO;
in a recovery boiler with a small amount of borate, and
complete the causticizing of the remaining Na>CO; in the
causticizing plant with a reduced amount of lime. Since no
capital investment is required, partial autocausticizing is
an attractive alternative for kraft mills where incremental
causticizing and lime kiln capacity are needed.

Numerous mill trials have been conducted and problems
encountered have been resolved. The technology is now

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being used at several mills in Sweden, Brazil, Indonesia
and the United States. For a green-field kraft pulp mill,
with proper equipment design and operation, the
technology has the potential for completely eliminating
the causticizing plant and the lime kiln, making the kraft
process much simpler.

Alternative Fuels for Lime Kilns

The lime kiln is the biggest user of fossil fuels in the kraft
process. With the escalation in costs of oil and natural gas,
there has been considerable effort devoted to finding
suitable alternative fuels for use in the kiln. These have
included pet coke, gas from wood waste or bark gasifiers,
and soap or tall oil. Methanol or other liquid fuels that
may be obtained from NCG collection systems have also
been considered.

SUMMARY

The chemical recovery process dictates the quality and
quantity of the white liquor, which in turn, limits pulp
production and the profitability of the kraft pulp mill.
There are numerous ways in which the economics, energy
efficiency, and environmental protection associated with
the recovery process can be improved. Development of
process sensors and control is an area undergoing rapid
change. Much remains to be learned about the science of
the kraft recovery cycle and about application of that
science through improved processes and equipment.

With today’s increasingly high energy and chemical costs,
and stringent environment regulations that limit particulate
and gaseous emissions, solid waste disposal and mill
effluent discharge, the need for improved recovery of
energy and chemicals from the black liquor has become a
critical economic factor in kraft pulp mill operation. It is
essential for mills to maximize the steam and power
production capacity, reduce recirculating chemical dead
loads, and minimize chemical losses. The reliability and
efficiency of recovery boilers, evaporators, causticizing
plants and lime kilns have a direct impact on the quantity
and quality of white liquor, and ultimately the quantity
and quality of pulp produced by kraft mills.

The greatest opportunity for increasing energy and
chemical recovery efficiency and for improving overall
operating performance at existing kraft pulp mills is
through advanced energy integration and mill-wide
control. Although limited automatic control of the
individual units that make up the process is available,
there is presently no effective control strategy overseeing
the entire cycle. Major disturbances, as well as chemical
dead loads can propagate around and around the recovery
cycle. Examples include changes in wood supply which
will affect the black liquor heating value and boiler
thermal efficiency, or in poor causticizing plant operation
which will increase the carbonate deadload in the liquor
cycle, leading to lower evaporator efficiency, lower black
liquor solids content and poorer boiler reduction
efficiency. With current technology, these changes are
dealt with on an individual unit basis, when the
performance of that piece of equipment begins to change.

Gains made in process understanding over the past years
have reached a point where it is feasible to develop more
comprehensive automatic control strategies and conceive
of new and improved process designs.

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